Case 2:03-cr-00715-RSWL Document 12 Filed 08/18/03 Page 1of1 Page ID #:2
” UNITED STATES DISTRICT COURT

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0 R | G | NA | CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:03CR715 Recorder: CS 08/18/03 Date: 08/18/2003
Present: The Honorable Stephen J. Hillman, U.S. Magistrate Judge

Court Clerk: Maria Cortez & Linda Jackson Williams Assistant U.S. Attorney: Elyssa Getreu / Bruce
SearbyAUSA

United States of America v. Attorney Present for Language Interpreter
Defendant(s)
1. KENNETH BRANCH - PRESENT |, Richard Steingard
Summons RETAINED - Present
2. WILLIAM ERSKINE - PRESENT 2. Steven G. Madison
Summons RETAINED - Present

PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE.

(S) Are, |
Defendant fSarraigned and states name is as charged .

SA
Defendant is given a copy of the Indictment, acknowledges receipt of a copy and waives reading thereof.

s .
Defendan ads not guilty to all counts of the Indictment.

Court orders this case assigned to the calendar of U.S. District Judge Ronald S. W. Lew for/and further orders
jury trial set for OCTOBER 14, 2003 @9:00 AM

Motion Hearing date is set for: OCTOBER 6, 2003 @10:00 AM
Defendantifirst appearance.

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Defendan sts @ $5,000.00 AS TO EACH DEFENDANT Unsecured Appearance Bond. Court orders
defendaniip report to the U.S. Marshal's Office forthwith for processing.
c

Other:

Initials of Deputy Clerk: mc AA.
cc: PSA, Statistics Clerk, USM LA

 

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